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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                      Miami Division

 LOGAN ALTERS, MARTA REYES,
 LAWRENCE WOOD, STEPHEN CLYNE
 and THE PITCHING LAB d/b/a
 TBT TRAINING
 on behalf of themselves, and all those
 similarly situated,

 Plaintiffs,
                                                        CASE NO. 1:20-CV-21108-UU
 v.                                                     CLASS ACTION
                                                        JURY TRIAL DEMANDED
 PEOPLE’S REPUBLIC OF CHINA;
 NATIONAL HEALTH COMMISSION
 OF THE PEOPLE’S
 REPUBLIC OF CHINA;
 MINISTRY OF EMERGENCY MANAGEMENT
 OF THE PEOPLE’S REPUBLIC OF CHINA;
 MINISTRY OF CIVIL AFFAIRS OF THE
 PEOPLE’S REPUBLIC OF CHINA;
 THE PEOPLE’S GOVERNMENT OF HUBEI
 PROVINCE; and THE PEOPLE’S GOVERNMENT
 OF CITY OF WUHAN, CHINA.

 Defendant.

 _______________________________/

                    MOTION TO DROP PARTY PURSUANT TO RULE 21

         Plaintiffs, by and through undersigned counsel, hereby respectfully give notice to this

 Court that Named Plaintiff LOGAN ALTERS has decided not to pursue this lawsuit, so that he

 may focus on his college studies. Therefore, pursuant to Fed.R.Civ.P. 21, Plaintiffs respectfully

 move this Court for entry of an Order, dropping Logan Alters has a party/plaintiff here, and

 directing the Clerk to terminate Logan Alters as party/plaintiff.

         As this matter is in its nascent stages and Defendants are not yet served, Plaintiffs posit

 that no prejudice will result from the grant of the relief requested herein.
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        A proposed Order is attached.

        WHEREFORE Plaintiffs, through undersigned counsel, respectfully request that the Court

 enter an Order dropping Plaintiff Logan Alters from this matter and directing the Clerk to terminate

 him as a party/plaintiff, and for such other relief as this Court deems just and proper.

 Respectfully submitted this 13th day of March, 2020.


                                        THE LAW OFFICES OF
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                                     CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing has been filed this March 13,

 2020, with the Court’s CM/ECF filing system, which shall cause an email notice to be sent to all

 parties of record in this matter.



                                        By: /s Matthew T. Moore
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